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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 DAVID GECHT,                                    )
                                                 )          No. 23 CV 1742
                 Plaintiff,                      )
                                                 )          Hon. Lindsay C. Jenkins
 v.                                              )          District Judge
                                                 )
 REYNALDO GUEVARA, et al.,                       )
                                                 )
                 Defendants.                     )

            JOINT MOTION TO EXTEND BRIEFING SCHEDULE FOR
      AMENDED JOINT MOTION FOR FINDING OF GOOD FAITH SETTLEMENT

         Defendants, CITY OF CHICAGO, GERI LYNN YANOW, as Special Representative for

ERNEST HALVORSEN, deceased, ALAN PERGANDE, MICHAEL MUZUPAPPA, ROBERT

RUTHERFORD, EDWIN DICKINSON, KEVIN ROGERS, as Special Representative for

FRANCIS CAPPITELLI, deceased, and REYNALDO GUEVARA (collectively, the “City

Defendants”), and Plaintiff, DAVID GECHT, and Defendants, BRENDAN MCGUIRE,

MICHAEL HOOD, and COOK COUNTY (collectively, the “Settling Parties”), by their

undersigned attorneys, move this Honorable Court to extend the briefing schedule for the Settling

Parties’ Amended Joint Motion for Finding of Good Faith Settlement. (Dkt. 181). In support

thereof, the Parties state:

         1.     On October 23, 2024, the Settling Parties, without conferring with the City

Defendants, filed a Joint Motion for Finding of Good Faith Settlement. (Dkt. 178).

         2.     On October 30, 2024, the Settling Parties filed their Amended Joint Motion for

Finding of Good Faith Settlement, which included that the City Defendants opposed the motion.

(Dkt. 181).
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       3.      On October 31, 2024, this Court ordered the City Defendants’ response to the

amended motion due by November 18, 2024, with any reply due by November 25, 2024. (Dkt.

182). The Court further ordered that the response and reply should address the motion filed in this

case and the motion filed in the related matter, Kwil v. Guevara, et al., 23-cv-4279, and be filed

on the docket in both cases. (Id.).

       4.      On November 15, 2024, the City Defendants filed an unopposed Motion for

Extension of Time to Respond to the Settling Parties’ Amended Joint Motion for Finding of Good

Faith Settlement. (Dkt. 183).

       5.      On November 18, 2024, this Court granted the City Defendants’ motion for

extension and ordered the City Defendants’ response brief due on November 27, 2024, and the

reply brief due on December 4, 2024. (Dkt. 184).

       6.      For additional context, Plaintiff’s attorney, Loevy & Loevy, Defendant Cook

County and various other former Assistant Cook County State’s Attorneys have simultaneously

filed similar motions for finding of good faith settlement in seven other Guevara-related cases.

See Dkt. 145, Abrego v. Guevara, et al., No. 23-cv-1740 (N.D. Ill. Nov. 4, 2024); Dkt. 215,

Rodriguez v. Guevara, et al., No. 22-cv-6141 (N.D. Ill. Oct. 30, 2024); Dkt. 398, Bouto v. Guevara,

et al., No. 19-cv-2441 (N.D. Ill. Oct. 30, 2024); Dkt. 106, Kwil v. Guevara, et al., No. 23-cv-4279

(N.D. Ill. Oct. 30, 2024); Dkt. 209, Gonzalez v. Guevara, et al., No. 22-cv-6496 (N.D. Ill. Oct. 30,

2024); Dkt. 198, Martinez v. Guevara, et al., No. 23-cv-1741 (N.D. Ill. Oct. 23, 2024); and Dkt.

74, Kelly v. Guevara, et al., No. 24-cv-5354 (N.D. Ill. Nov. 4, 2024). The Parties intend to file, or

have already filed, similar motions in those cases, requesting that the same extensions to the

briefing schedules be set.




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       7.      The Parties have been working on their respective briefs but due to other pre-

existing professional and personal commitments, the City Defendants seek an extension of time

until December 5, 2024, to file their response, and the Settling Parties seek an extension of time

until December 12, 2024, to file their reply.

       8.      This motion is not made for the purpose of delay.

       WHEREFORE, the Parties respectfully request this Honorable Court grant their joint

motion to extend the briefing schedule for the Amended Joint Motion for Finding of Good Faith

Settlement, with the City Defendants’ response due on or before December 5, 2024, and the

Settling Parties’ reply due on or before December 12, 2024, and for any other relief as this Court

deems just and proper.



DATED: November 27, 2024

Respectfully Submitted,

/s/ Eileen E. Rosen                                 /s/ Timothy P. Scahill
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